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                             IN THE UNITED STATES COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                            )
                                                     )      Case No. 21-MJ-00188 (ZMF)
v.                                                   )
                                                     )
RYAN SAMSEL                                          )
                                                     )
       Defendant.                                    )


          UNOPPOSED MOTION FOR EMERGENCY STATUS CONFERNCE

       Defendant, Ryan Samsel, by and through his attorney, requests this Court to set an

emergency status hearing regarding Samsel’s health and conditions, where he is currently detained.

       Furthermore, Mr. Samsel is very concerned about the care he will receive after his medical

procedures.

       Wherefore, we respectfully request this Court to schedule an emergency status conference

at the earliest possible time available. We have spoken to the Government, and they have no

objection to the request for a status conference.

Date: July 29, 2021                           Respectfully submitted,
                                              /s/ John Pierce
                                              John M. Pierce
                                              Bar Number # 250443
                                              PIERCE BAINBRIDGE P.C.
                                              355 S. Grand Avenue, 44th Floor
                                              Los Angeles, CA 90071
                                              Tel: (213) 400-0725

                                              Counsel for Defendant Ryan Samsel
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                                CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this 29th day of July, 2021, I caused a copy of

the foregoing document to be served on all counsel through the Court’s CM/ECF case filing

system.

                                              ________/s/________________
                                             John M. Pierce
